                                                                                               COURT
                     IN THE UNITED STATES DISTRICT COURT FOR TH
                              EASTERN DISTRICT OF VIRGINIA
                                                                                      OEG
                                       Alexandria Division

 UNITED STATES OF AMERICA                       )
                                                )
        V.
                                                ) Case No. l:15-CR-290-LO-6
                                                )
 ARNULFO FAGOT-MAXIMO,                          ) The Honorable Liam O'Grady
                                                )
        Defendant.                              )

                                 SPECIAL VF.RnirT FORM

With Respect to Count One - Conspiracy to Distribute Cocaine for the Purpose of Unlawful
Importation into the United States:

       We,the jury, find the Defendant, ARNULFO FAGOT-MAXIMO:

              Guilty                         Not Guilty
       If your answer is "Not Guilty." stop here and sign the Special Verdict Form.
       If your answer is "Guilty," please mark the total amount of cocaine you find that the
defendant, Amulfo Fagot-Maximo, conspired to distribute for the purpose of unlawful
importation into the United States, then sign the Special Verdict Form:

                       5 kilograms or more

                       500 grams or more

                       Less than 500 grams



So say we all this3~ day of December, 2018.



                                      FOREPERSON
